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                                UNITED STATES BANKRUPTCY COURT
                           EASTERN AND WESTERN DISTRICT OF ARKANSAS

In re: BRITTANY S MAXWELL                                                       Case No: 4:19-bk-15322 T

                                      OBJECTION TO CONFIRMATION
                                            OF INITIAL PLAN


     Comes now Mark T. McCarty, Standing Chapter 13 Trustee who would show the Court the following for
which relief is sought. It is reasonably believed and the proof will show that the Chapter 13 petition and plan
fail to comply with the following:
      1. 11 U.S.C. §1325(b). Payments to be paid to unsecured creditors are inconsistent with
      disposable income. A new budget is needed as Debtor testified at the first meeting of
      creditors she has new employment.

      2. 11 U.S.C. §1325(a)(1). The plan does not comply with the provisions of Chapter 13 and with
      the other applicable provisions of the Bankruptcy Code. Debtor failed to disclose all her
      unsecured debts on schedule E/F.

   Because the plan and petition fail to comply with applicable provisions of the Bankruptcy Code, the
case should be dismissed pursuant to 11 U.S.C. §1307 or the confirmation should be denied and the
debtor given an opportunity to submit a modified plan within reasonable time.

      PREMISES CONSIDERED, Mark T. McCarty , Standing Chapter 13 Trustee prays:
      1. That the Court set this objection for a hearing.
      2. That the Court either dismiss the Chapter 13 case pursuant to 11 U.S.C. §1307 or deny
      confirmation and grant the debtor a reasonable time in which to submit a modified plan .
      3. That the Chapter 13 Trustee be granted such other and further relief to which he may be entitled .

Dated: 11/20/2019                                                            /s/ Mark T. McCarty
                                                                           CHAPTER 13 TRUSTEE
cc:       Brittany S Maxwell
          3818 West 19Th Street
          Little Rock, AR 72204
          Danyelle J. Walker (Noticed by ECF)
          Law Office Of Danyelle Walker, Pllc
          323 Center Street Ste 1020
          Little Rock, AR 72201
